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     Attorneys for the Petitioner
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13                          UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF CALIFORNIA
14                                  SAN JOSE DIVISION
15
                                                   )   Case No.: [____________]
     In re                                         )
16
                                                   )
     EIG Co., Ltd.,                                )   Chapter 15
17                                                 )
                Debtor in a Foreign Proceeding.    )   VERIFICATION OF CHAPTER 15
18                                                 )   PETITION
                                                   )
19                                                 )
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   VERIFIED
Case:       PETITION
      19-51346       UNDER
                   Doc# 1 CHAPTER 15 FOR
                           Filed: 07/02/19        Entered: 07/02/19 17:09:51      Page 4 of 18
     RECOGNITION OF FOREIGN PROCEEDING
Case: 19-51346   Doc# 1   Filed: 07/02/19   Entered: 07/02/19 17:09:51   Page 5 of 18
                          Chapter 15 Petition of EIG Co, Ltd.

             Item 6 – Original. Certified Copy of Decision Commencing
             Foreign Proceeding And Appointing Foreign Representative




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                          Chapter 15 Petition of EIG Co, Ltd.

             Item 6 – Translated. Certified Copy of Decision Commencing
              Foreign Proceeding And Appointing Foreign Representative




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Submitted by Hyoung Cheol Choi, Date the served document is registered: 06. 10. 2019 17:03, Printed out by Jin Young Kim   Date downloaded: 06. 10. 2019 17:10



                                                            Daejeon District Court
                                                                                                                  This is a true and        [Seal of Daejeon
                                                                                                                  correct copy.             District Court
                                                         Bankruptcy Department 3                                  June 10, 2019
                                                                                                                                            Clerk]

                                                                                                                  Court clerk
                                                                                                                  Seong Jin Ok
                                                                          Decision


Case                    2019 Hahap 7074 Declaration of Bankruptcy
Complainant Seong Gyu Cho, liquidator of the Obligor EIG Co., Ltd.
                        70, 3-ro, 4-sandan, Jiksan-eop, Seobuk-gu, Cheonan-si
                        Counsel of record for the Complainant: Bae, Kim & Lee (BKL), LLC
                        Attorneys handling this matter: Jang Ho Lim; Woo Jae Kim; Woo Gu Choi,
                                                                             and Min Gyeong Jeong
Obligor                 EIG Co., Ltd.
                        70, 3-ro, 4-sandan, Jiksan-eop, Seobuk-gu, Cheonan-si
                        Corporate Representative: Seong Gyu Cho, liquidator
Date filed              June 10, 2019 10:30



                                                                         HOLDINGS
 1. The court declares bankruptcy for EIT Co., Ltd., the Obligor.
 2. The court appoints attorney Min Hee Jeong (born on December 30, 1981, #505 Cheongwoo
        Building, 36, 78-gil, Doonsanjoong-ro, Seo-gu, Daejeon) as trustee.
 3. The period for reporting receivables shall be up until July 12, 2019.
 4. The date and place of the first creditors’ assembly and the receivables investigation shall be
        Court #333, annexed to Daejeon District Court at 10:30 AM on August 23, 2019.
 5. The monetary amount under the proviso of Article 492 of the Obligor Rehabilitation and
        Bankruptcy Act shall be KRW3 million.



                                                        REASONS




                                                                                1/3


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1. Facts Recognized
         Based on the records of this case and the result of examination of the Corporate Representative of the
Obligor, this court recognizes the facts set out below.
 A.      Obligor was established on January 11, 2007 for the purpose of developing and manufacturing
         secondary batteries. Obligor issued 1,391,643 shares of common stock and 405 shares of preferred stock
         (KRW5,000 per share), 100% of which is owned by DRB Dongil, the parent company.
 B.      Since its establishment, Obligor has been engaged in business activities of developing and
         manufacturing secondary batteries and related modules, and selling the same to the manufacturers of
         electric cars and electric motorcycles in Korea and abroad. However, it lagged behind in terms of
         technology and price competition in competing with the large corporations engaged in the same
         business. Unable to withstand the continued deficit, Obligor completely stopped its production in early
         2017 and started to sell inventory stock only, which Obligor continued to do. Then Obligor was
         liquidated pursuant to the resolution of the special general meeting of shareholders as of August 23,
         2018, where the Complainant was appointed as the Liquidator. Then, in or about June 2017 when the
         Obligor stopped producing products and was only selling the inventory stock, Zero Motorcycles Inc., a
         corporation based in California in the U.S. filed a motion for arbitration to the American Arbitration
         Association (AAA) against Obligor claiming that motorcycles manufactured and sold by the above-
         referenced company caught fire due to defect associated with the secondary batteries supplied by
         Obligor. While responding and addressing the arbitration case mentioned above as the Liquidator of the
         Obligor, the Complainant filed for bankruptcy due to shortage of money, unable to pay the expenses
         associated with this arbitration case such as the attorney’s fee.
 C.      Around the date when the bankruptcy of this case was filed, the recoverable assets actually owned was
         about KRW400 million according to the assertion made by Obligor, whereas, if the potential contingent
         liabilities to Zero Motorcycle Inc. are included, the total amount of liabilities become about KRW5.5
         billion. As a result, liabilities far outweigh assets. Also, due to stoppage of sales as well as dissolution of
         the company, Obligor is unable to generate enough profits to pay off the existing debts as of the date
         when the bankruptcy was filed.
2. Adjudication and Conclusion
         Facts above show that Obligor has reasons for bankruptcy: insolvency, default and more liabilities [than
assets]. Therefore, this court decided to declare bankruptcy for the Obligor by applying Article 305 and Article
306 of the Debtor Rehabilitation and Bankruptcy Act. For appointing the bankruptcy trustee/administrator, the




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court decided to apply Article 355 of the same Act, as to the period of reporting one’s receivables, the date of
the 1st Creditor’ Assembly, and the dates for investigating into the receivables, the court applied Article 312 of
the same Act, and as to the reference amount of the acts subject to approval of the court, the court applied
Article 492 of the same Act. And this court decides as indicated in the Holdings.



                                                             June 10, 2019


            Presiding Judge                     Judge Yeon Jeong Oh



                                                Judge Hyoung Cheol Choi



                                                Judge Ho Cheol Song




                                                                                3/3



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                  CERTIFICATION OF TRANSLATION
                               and
                          DECLARATION

State of California                   )
                                      )       S. S.
Los Angeles County                    )


       I, Soomi Ko, the undersigned, declare under penalty of perjury that I am a duly
certified Korean Court Interpreter approved by the United States District Courts, certified
by the State of California and the Los Angeles County Superior Courts, with competent
knowledge of Korean and English, and that I have truthfully and correctly translated the
document titled Decision by Daejeon District Court, Bankruptcy Division 3 re: 2019
Hahap 7074 Declaration of Bankruptcy from Korean to English and that the said
translation is, to the best of my knowledge and belief, a true and correct translation. I
further declare under penalty of perjury that I am neither counsel for, related to, nor
employed by any of the parties, and that I have no financial or other interest in the
outcome of any action related to this translation. I declare under penalty of perjury that the
foregoing is true and correct.


Executed on June 10, 2019



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California State Certified Court Interpreter
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                          Ko & Martin Certified Interpreters and Translators
                             Specializing in Korean and Chinese Languages



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                          Chapter 15 Petition of EIG Co, Ltd.

   Item 8 – Statement Pursuant to 11 U.S.C. § 1515(c) and Bankruptcy Rule 1007(a)(4)




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13                          UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF CALIFORNIA
14                                  SAN JOSE DIVISION
15
                                                   )   Case No.: [____________]
     In re                                         )
16
                                                   )
     EIG Co., Ltd.,                                )   Chapter 15
17                                                 )
                Debtor in a Foreign Proceeding.    )   STATEMENT PURSUANT TO 11 U.S.C.
18                                                 )   §1515(c) AND BANKRUPTCY RULE
                                                   )   1007(a)(4)
19                                                 )
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Case:VERIFIED
      19-51346PETITION UNDER
                    Doc#  1 CHAPTER  15 FOR
                             Filed: 07/02/19      Entered: 07/02/19 17:09:51      Page 16 of 18
     RECOGNITION OF FOREIGN PROCEEDING
  1          Min Hee Jeong, in his capacity as the duly appointed foreign representative (the “Foreign
  2   Representative” or “Trustee”) of the above-captioned debtor (the “Debtor”), a company in a
  3   bankruptcy liquidation under Korean law (the “Foreign Proceeding”) currently pending before the
  4   Daejeon District Court, Bankruptcy Department 3, Korea, hereby files this statement in
  5   accordance with Item 8 of the Chapter 15 Petition for Recognition of a Foreign Proceeding, 11
  6   U.S.C. Section 1515(c) of Title 11 of the United States Code, and Rule 1007(a)(4) of the Federal
  7   Rules of Bankruptcy Procedure and states as follows:
  8          I.      Corporate Ownership Statement
  9          DRB Dongil, the Debtor’s parent company, owns 100% of the equity interests of the
 10   Debtor.
 11          II.     Administrators in Foreign Proceeding
 12          The Foreign Representative is the appointed representative for the Debtor in the Foreign
 13   Proceeding for the purposes of this chapter 15 case. The name and addresse of the Foreign
 14   Representative is Min Hee Jeong, #505 Cheongwoo Building, 36, 78-gil, Doonsanjoong-ro, Seo-
 15   gu, Daejeon.
 16          III.    Identification of Foreign Proceedings
 17          Other than the Foreign Proceeding, there are no foreign main proceedings or foreign
 18   nonmain proceedings pending with respect to the Debtor.
 19          IV.     Parties to Litigation Pending in the United States
 20          Upon information and belief, there is one litigation pending in the United States in which
 21   the Debtor is a party: Zero Motorcycles, Inc. v. Energy Innovation Group, Ltd., AAA Case No.
 22   01-17-0003-2248 pending before the International Centre for Dispute Resolution. Other than the
 23   Debtor, the other two parties to that proceeding are (1) Zero Motorcycles Inc. (“ZM”), and (2)
 24   Arbitrator Nathan O’Malley (“Mr. O’Malley”) . ZM’s counsel are Matthew Singer and Connor
 25   Gants, Barack Ferrazzano Kirschbaum & Nagelberg LLP, 200 West Madison Street, Suite 3900,
 26   Chicago, IL 60606. Mr. O’Malley’s address is American Arbitration Association, International
 27   Centre for Dispute Resolution, 9 Greenway Plaza, Suite 1275, Houston, TX 77046.
 28


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       RECOGNITION OF FOREIGN PROCEEDING
  1            V.     Entities Against Whom Provisional Relief Is Sought
  2            The Foreign Representative is seeking provisional relief under section 1519 of the
  3   Bankruptcy Code.1
  4
  5   Dated: June 21, 2019                                 LIMNEXUS LLP
  6                                                       By: /s/ James Till_____________________
  7                                                           James Till
                                                              Attorneys for the Petitioner
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        The Debtor reserves its right to seek provisional relief against other parties should the need arise.
 28   If the Petitioner does seek such provisional relief in the future, the Debtor will file a list of all such
      parties against whom it is seeking such relief at that time.

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                             CHAPTER 15 FOR         Entered: 07/02/19 17:09:51          Page 18 of 18
          RECOGNITION OF FOREIGN PROCEEDING
